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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                     JONESBORO DIVISION


JIMMY ASHLEY                                                   PLAINTIFF


v.                      No. 3:16-cv-321-DPM

OTB ACQUISITION, LLC dfb/a
On The Border Mexican Grill & Cantina                        DEFENDANT


                                 ORDER

     Joint motion for extension, NQ 8, granted. Answer or Rule 12 (b) motion

due by 27 March 2017. I recuse. My friend and former law partner, Paul

Waddell, has appeared for Defendant. The Clerk must reassign this case at

random by chip exchange.

      So Ordered.


                                         D.P. Marshall Jr.
                                         United States District Judge
